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                                  8

                                  9                                   UNITED STATES DISTRICT COURT

                                 10                                          DISTRICT OF NEVADA

                                 11 Ignite Spirits, Inc., a Wyoming corporation,      Case No. 2:21-cv-01590-JCM-EJY
                                 12                  Plaintiff,                       STIPULATION AND ORDER EXTENDING
                                                                                      BRIEFING SCHEDULE ON IGNITE
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 v.                                                INTERNATIONAL BRANDS, LTD.’S MOTION
                                                                                      TO DISMISS COUNTERCLAIM, AND MOTION
     HOLLAND & HART LLP

     LAS VEGAS, NV 89134




                                 14 Consulting by AR, LLC, a Florida limited          FOR A MORE DEFINITIVE STATEMENT
                                    liability company; Does I through X,
                                 15 inclusive; and Roe Business Entities I            (FIRST REQUEST)
                                    through X, inclusive,
                                 16                                                   Related ECF Nos. 39, 40
                                                   Defendants.
                                 17

                                 18 Consulting by AR, LLC,

                                 19                  Counterclaim Plaintiff,
                                 20 v.

                                 21 Ignite Spirits, Inc. (f/k/a Ignite Beverages,
                                      Inc.); Ignite International Ltd.; and Ignite
                                 22 International Brands, Ltd.,

                                 23                  Counterclaim Defendants.
                                 24

                                 25            Defendant/counterclaim plaintiff Consulting by AR, LLC (“Company”), and

                                 26 counterclaim defendant Ignite International Brands, Ltd. (“Ignite Brands”) stipulate and agree as

                                 27 follows:

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                                  1          1.      On November 22, 2021, Ignite Brands filed a motion to dismiss counterclaim, and
                                  2 a motion for a more definitive statement (“Motions”). (ECF Nos. 39, 40.) The Company’s response

                                  3 in opposition to the Motions is due on December 6, 2021, and Ignite Brands’ reply in support of

                                  4 the Motions is due December 13, 2021.

                                  5          2.      Because of the holidays, as well as the Company’s representative, Alan
                                  6 Richardson, traveling during the holidays, the Company needs to extend the deadline to submit its

                                  7 response in opposition to the Motions by seven days.

                                  8          3.      The Company and Ignite Brands have thus agreed to extend the deadline for the
                                  9 Company to file a response in opposition to the Motions from December 6, 2021, to December

                                 10 13, 2021. Ignite Brands’ reply in support of the Motions will be extended from December 13,

                                 11 2021, to December 20, 2021.

                                 12          4.      This is the first request for an extension made by the Company and Ignite Brands.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 They make this request in good faith and not for the purpose of delay.
     HOLLAND & HART LLP

     LAS VEGAS, NV 89134




                                 14          IT IS SO STIPULATED.
                                 15          Dated: December 2, 2021
                                 16   /s/ Jon T. Pearson                              /s/ Ryan A. Ellis
                                      Gregory S. Gilbert                              Ryan A. Ellis
                                 17   Jon T. Pearson                                  RYAN ELLIS LAW CORPORATION
                                      Elody C. Tignor                                 3275 South Jones Blvd., Suite 105
                                 18   HOLLAND & HART LLP                              Las Vegas, Nevada 89146
                                      9555 Hillwood Drive, 2nd Floor
                                 19   Las Vegas, Nevada 89134                         Counsel for Counterclaim Defendants Ignite
                                                                                      International Ltd., and Ignite International
                                 20   Counsel for Defendant/Counterclaim              Brands, Ltd.
                                      Plaintiff Consulting by AR, LLC
                                 21

                                 22                                               ORDER

                                 23          IT IS SO ORDERED.

                                 24
                                                                                  ________________________________
                                 25                                               UNITED STATES DISTRICT COURT JUDGE
                                 26                                                       December 3, 2021
                                                                                  Dated: __________________________
                                 27

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                                  1                                       CERTIFICATE OF SERVICE
                                  2           I certify that on December 2, 2021, an accurate copy of this Stipulation and Order

                                  3 Extending Briefing Schedule on Ignite International Brands, Ltd.’s Motion to Dismiss

                                  4 Counterclaim, and Motion for a More Definitive Statement was served by submitting

                                  5 electronically for filing and service with the United States District Court, District of Nevada’s e-

                                  6 filing system, and served on counsel electronically in accordance with the E-service list to the

                                  7 following email addresses:

                                  8   Kimberly P. Stein
                                      FLANGAS LAW GROUP
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                                      Las Vegas, Nevada 89146
                                 10   kps@fdlawlv.com
                                 11   Counsel for Plaintiff/Counterclaim
                                      Defendant Ignite Spirits, Inc.
                                 12
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13
     HOLLAND & HART LLP

     LAS VEGAS, NV 89134




                                                                                   /s/ Joyce E. Heilich
                                 14                                                An employee of Holland & Hart LLP
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